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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF LOUISIANA

SHIRLEY CAVALIER

PLAINTIFF

V8. CIVIL ACTION NO. 17-260-SDD-EWD

CARRINGTON MORTGAGE SERVICES,
LLC, ET.AL

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DEFENDANTS
ORDER OF DISMISSAL WITH PREJUDICE

Plaintiff Shirley Cavalier have announced to the Court that all matters in controversy against
Defendant Trans Union LLC have been resolved. A Stipulation of Dismissal with Prejudice has been
signed and filed with the Court. Having considered the Stipulation of Dismissal with Prejudice, the
Court makes and delivers the following ruling:

IT IS ORDERED that the claims and causes of action asserted herein by Plaintiff against
Defendant Trans Union LLC are in all respects dismissed with prejudice to the refiling of same
with court costs to be paid by the party incurring same.

DATED this 7 5 day of February, 2018.

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HONORABLE SHELLY D. DICK
UNITED STATES DISTRICT JUDGE
